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 6
                           IN THE UNITED STATES DISCTRICT COURT
 7                              FOR THE DISTRICT OF NEVADA

 8                                                   )   Case No. 2:12-cv-01847-RCJ-PAL
     NANCY SAGONA,                                   )
 9                                                   )
                           Plaintiff,                )
10                                                   )
     v.                                                  STIPULATION AND ORDER
                                                     )
11                                                       DISMISSING ACTION WITH
                                                     )   PREJUDICE
     Enhanced Recovery Company, LLC; and             )
12   DOES 1-10, inclusive,                           )
                           Defendant.                )
13

14                                                STIPULATION
             Plaintiff NANCY SAGONA and Enhanced Recovery Company, LLC hereby stipulate
15
     and agree that the above-entitled action shall be dismissed with prejudice in accordance with
16
     Fed. R. Civ. P. 41 (a)(2). Each party shall bear its own attorney's fees, prejudgment interest, and
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     costs of suit.
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     …
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     …
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     …
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     …
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     …
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     …
24   …
25   …

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 1         Dated:      February 1, 2013

 2

 3

 4   By:    /s/David H. Krieger, Esq.           By:     /s/ Joseph Hardy, Esq.
            David H. Krieger, Esq.                      Joseph Hardy, Esq.
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 8

 9
                                           ORDER
10
                                                   IT IS SO ORDERED
11

12                                                 ____________________________
                                                   UNITED STATES DISTRICT JUDGE
13
                                                   DATED: ____________________
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